                SIXTH DISTRICT COURT OF APPEAL
                       STATE OF FLORIDA
                     _____________________________

                          Case No. 6D2023-0304
                      Lower Tribunal No. 19-CF-17310
                     _____________________________

                             HORACIO JOHNSON,

                                 Appellant,
                                     v.

                             STATE OF FLORIDA,

                                 Appellee.
                     _____________________________

                Appeal from the Circuit Court for Lee County.
                           J. Frank Porter, Judge.

                              August 27, 2024


PER CURIAM.

     AFFIRMED.

STARGEL and NARDELLA, JJ., concur.
SMITH, J., dissents, without opinion.


Howard L. “Rex” Dimmig, II, Public Defender, and Nicholas Martino, Special
Assistant Public Defender, Bartow, for Appellant.

Ashley Moody, Attorney General, Tallahassee, and Taylor A. Schell, Assistant
Attorney General, Tampa, for Appellee.


 NOT FINAL UNTIL TIME EXPIRES TO FILE MOTION FOR REHEARING
          AND DISPOSITION THEREOF IF TIMELY FILED
